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 1   Robert M. Tzall
     Nevada State Bar No. 13412
 2   The Law Offices of Robert M. Tzall
 3   7735 Commercial Way
     Suite 100
 4   Henderson, NV 89011
     Tel: 702-666-0233
 5   robert@tzalllegal.com
 6

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 8                               IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF NEVADA
 9

10   YEHUDA IZMAGRISTO,                              ) Docket No.
                                                     )
11                  Plaintiff,                       )
                                                     ) COMPLAINT
12          vs.                                      )
                                                     )
13                                                   )
     WELLS FARGO BANK, N.A.,                         )
14                                                   )
                    Defendant.                       )
                                                     )
15                                                   )
16

17
            Plaintiff Yehuda Izmagristo ("Plaintiff") by and through his attorneys, The Law Offices of
18

19   Robert M. Tzall as and for his Complaint against Defendant Wells Fargo Bank N.A.

20   ("Defendant") respectfully sets forth, complains and alleges, upon information and belief, the

21   following:
22
                           INTRODUCTION/PRELIMINARY STATEMENT
23
              1.    Plaintiff brings this action for damages and declaratory and injunctive relief arising
24
          from Defendant's violations of Section 227 et.seq. of Title 47 of the United States Code,
25
          commonly referred to as the Telephone Consumer Protection Act (''TCPA'').
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 1                                             PARTIES
 2        2.     Plaintiff is a resident of the State of Nevada, County of Clark, residing at 8945
 3
       Waymire Creek CT, Las Vegas, NV, 89147.
 4
           3.    Defendant Wells Fargo Bank, N.A. is an Nevada corporation with an address for
 5
        service c/o CSC Services of Nevada Inc., 2215B Renaissance Drive, Las Vegas, NV, 89119.
 6

 7

 8                                 JURISDICTION AND VENUE

 9          4.   The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1331, as well
10
        as 15 U.S.C. § 1692 et. seq. and 28 U.S.C. § 2201. If applicable, the Court also has pendant
11
        jurisdiction over the State law claims in this action pursuant to 28 U.S.C. § 1367(a).
12
            5.   Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(b)(2).
13

14

15                                   FACTUAL ALLEGATIONS

16          6.   Plaintiff incorporates by reference all of the above paragraphs of this Complaint as
17      though fully state herein with the same force and effect as if the same were set forth at
18
        length herein.
19
            7.   On information and belief, on a date better known to Defendant, Defendant began
20
        calling Plaintiff’s cellular telephone, using an automatic telephone dialing system (“ATDS”
21
        or “predictive dialer”) and/or using an artificial or prerecorded voice.
22

23          8.   Defendant placed calls to Plaintiff’s cell phone in the manner described

24      previously.
25          9.   Plaintiff spoke with Defendant on or around March 14, 2018 and revoked any
26
        consent that Defendant may have had to contact him on his cellular telephone.
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 1         10.   Once Defendant was aware that its calls were unwanted, its continued calls could
 2      have served no purpose other than harassment.
 3
           11.   Defendant ignored Plaintiff’s revocation and continued to call his cellular
 4
        telephone number on a consistent basis.
 5
           12.   These calls from Defendant to Plaintiff was a collection communications in
 6

 7      violation of numerous and multiple provisions of the TCPA, including but not limited to 47

 8      U.S.C. § 227 (b)(1)(A) and 47 U.S.C. § 227(c)(5)(B).

 9         13.   As a result of Defendant's unfair practices, Plaintiff has been damaged.
10

11

12                              FIRST CAUSE OF ACTION
             (VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT)
13

14
           14.   Plaintiff repeats, reiterates and incorporates the allegations contained in all of the
15
        paragraphs of this Complaint with the same force and effect as if the same were set forth at
16
        length herein..
17
           15.   The TCPA prohibits a person from making any non-emergency call using any
18

19      automatic telephone dialing system or an artificial or prerecorded voice to any telephone

20      phone number assigned to a cellular telephone service. 47 U.S.C. § 227 (b), See 47 CFR
21      64.1200 (a)(1).
22
           16.   Defendant used an automatic telephone dialing system when it called Plaintiff’s
23
        cellular telephone in violation of 47 U.S.C. § 227 (b)(1)(A), 47 CFR 64.1200 (a)(1).
24
           17.   Defendant used an artificial or prerecorded voice when it called Plaintiff’s cellular
25

26      telephone in violation of 47 U.S.C. § 227 (b)(1)(A).

27         18.   Defendant willfully or knowingly violated the TCPA, 47 U.S.C. § 227, entitling

28      Plaintiff to three times the damages available under 47 U.S.C. § 227(c)(5)(B).
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 1                                    DEMAND FOR TRIAL BY JURY
 2            19.   Plaintiff demands and hereby respectfully requests a trial by jury for all claims and
 3
          issues this complaint to which Plaintiff is or may be entitled to a jury trial.
 4

 5
                                          PRAYER FOR RELIEF
 6

 7   WHEREFORE, Plaintiff Yehuda Izmagristo demands judgment from the Wells Fargo Bank,

 8   N.A. as follows:

 9          a)      For actual damages provided and pursuant to 15 U.S.C. § 1692k(a)(1);
10
            b)      For statutory damages provided and pursuant to 15 U.S.C. § 1692k(a)(2)(A);
11
            c)      For attorney fees and costs provided and pursuant to 15 U.S.C. § 1692k(a)(3); and
12
            d)      For any such other and further relief, as well as further costs, expenses and
13
            disbursements of this action as this Court may deem just and proper.
14

15

16   DATED, this 2 day of August, 2018
17                                                                /s/Robert M. Tzall
                                                           Robert M. Tzall
18
                                                           The Law Offices of Robert M. Tzall
19                                                         Attorneys for Plaintiff

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